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                            PROJECT ASSICNMF.NT #2A
                                    TITLE Ill
             UNDER INDEPENDENT CONTRACI'OR SERVICES AGReEMENT
                                 ANDREW WOLFE

                                    EFFECTIVE: August 1.2017

l'JIOJ£CT:

Contractor (A. Wolfe) shall render senrices to ~ist the Boatd in connection with matters relating to its
certification and <.."VcntuaJ monitoring of a fiSCal plan fo·r the Commonv..'Calth of Puerto Rico through lbc
Title lll process pertaining to the debts aud plan of adjustment, without limiting the genernlity of the
foregoing:


J. Evaluating the macroeconomic framework underlying the fiscal plan and making
    recommendations to the Board;

2. ArlaJyzing the fiscaJ projections in the fiscal plan, including evaloations of che underlyirlg policies,
    consistency "ivith tbe macroeconomic t.rtunewol:'~ a.od shortfalls vis-ii-vis fiscal needs and p<>teotial;

3. Providing advice oo addiJiooal pOlicies r.hat could be enacted. including Slrt!Ctural relbnns to
   bolster growth and fiscal perfonnance;

4. Providing an as:;ess.meo~ of debt s ustainability under the fisC31 phm and carrying out an U\1F-stylc
   debt sustainability analysis;

5. Assisting the Bo..'tfd's outside counsel in pending and threatened litigation concerning fiscal plans
   a.od othct Board decisions, provided. however, t hat any such as..~istance shaH be governed by the
   tenns of a separaLe engagement leuer between Oulside counsel aod Contractor. aDd iJl"oiccs for
   work done for outside counsel should be separated frQm invoices for " 'ork done for the Board;

6. Providing ~-tdvice on monitodng developments Lmder a certified fiscal plan and assisting in the
   monitoring process; and

7. Any other tasks mutually agreed upon.

Sca:F;Ot11£ (U' WORK:
The work commenced or shall have commenced e!Iective oo AuguS1 I, 20 17, and shall he completed by
June 30,2018. Conu:actor shall devote at least half ofthe month's nonnal business hours to services for the
Board for d>e term ofthis Project Assignment to eoro the monthly fee ''" forth below.

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A.      Fee: $25.000 per roootb, subject to the maxim-um charge helow.

B.      Rc.imbursement for air tr.;~vcl whjch, due to Mr. Wolfe's medical condition related to fl ying, can
        be first class, as long as it is at or below the cost of full eco1lomy coach. and one class below first
         for travel by train, as we-ll as costs of hotels consistent with the TiLI.e lll guidelioes on suc.h
        expenditures. The Board, in its discretion. determines that any costs incurred by Mr. WoJie for
        legal fees assoc·iatcd with Title Ill filings shall also be reirobursable in full. Aoy other expeiJSe$
        t.o be incurred and for which re-imbursement is sought should be approved in advance by tlle
         Executive Director or the Chainnan of the Board.

        Contractor shaJI invoice the Board monthly fo r services and expenses and shall provide receipts,
        copies of time record.-; showing portions of da;)'s worked and services performed by Contractor
        and (01:' Contractor by outSide professionals. if any. indoded in disbursementS, and such othet
        documentation of e.xperlses a~ the Boatd teque.c;t.~. MonthJy time records wi It be majntained in an
        Exocl spreadsheet-containing the date, hours worked, and short description of the:-work
        p...rormcd.

        Payment terms: net thirty (30) days from recei:pt of invoice for all valid chatges. Contractor shaH
        invoice the Board on or before the tenth day of each month for services rendered and expenses
        incurred during the previous month.

C.      Max.imuro amouot chargeable by C<>nuac1or on this Project Assignment is $275,000 plus valid
        reirnbursable e~penses, unless cban_£,red i.o a writing Si8Jled by lhe Exeeutive Director or the
        Chairman of the Board.

D.      Contractor will be res-ponsible for the payment of any applicable payroll and i_neorne taxes. If the
        Contractor physically renders: services: in Puerlo Rico, he will be r-esponsible to fi le applicable
        income tax return in Puerto Rico.

ADDITIONAL TERMS:

        Putsuant to Section 4.2 of the Agreement, sJI bre:;ic economic models in the possession of the
        Contractor prior to engagement with the Board pursuant to the hldepexldent Contractor Services
        Agreement shall remain the propeny of the Contractor after termination of the Agreement.
        Adjustments to these models for the specifics o f Puerto R.ico and the work of the Board sMU
        remain with the Board upon tennioation of the Agreemenl..

        Contractor sb.aH ex.ocu1e and deliver to the Board a Vendor Conflict of lnterest Disclosure
        Certification in the fonn of Appendix A attached hereto.




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IN Wri'N£&1 WtUliU:CW, the p:mies have executed this Project Assi8Jimcnt as of the date lio;t written obove.

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BoARD 1'011 Pllf.ttTO RlOO                            Co>"TitACTOI<

By:      ,   .4 /1. c;..,;,.                          By:      ~ • • ., Wtft{t.
Name: N.Wic A Jaresko                                 Name: Dr. Andn:w Wolfe

Title: Executive Din:ctor                             Title:
